                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




UNITED STATES OF AMERICA                     )
                                             )
               VS.                           )               1:19CR490-1
                                             )
ANTONIO MOSLEY                               )



                      AMENDED NOTICE OF APPEAL OF FINAL JUDGMENT

       The Defendant, ANTONIO MOSLEY, by and through his undersigned counsel, hereby
gives notice, pursuant to Rule 4(b) of the Federal Rules of Appellate Procedure, that he is
appealing the Judgment and Commitment-Supervised Release Violation Hearing entered by
United States District Judge William L. Osteen, Jr., on March 31 st, 2021, to the United States
Court of Appeals for the Fourth Circuit.

       The undersigned respectfully request that he be released as attorney of record and that
the Court appoint other counsel to handle this appeal.

       Respectfully submitted this the 6th day of April 2021.



                                                     /s/ Darrin D. Jordan
                                                     Darrin D. Jordan, Bar No. 17483
                                                     Attorney for Antonio Mosley
                                                     Whitley, Jordan & Inge, P.A.
                                                     305 North Main Street
                                                     Salisbury, North Carolina 28144
                                                     Phone: (704) 637-1111
                                                     Email: djordan@wjilaw.com




          Case 1:19-cr-00490-WO Document 21 Filed 04/05/21 Page 1 of 2
                                CERTIFICATE OF SERVICE

       I certify that on April 6th, 2021, the foregoing was electronically filed with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the following:

                                        Lindsey Freeman
                                Assistant United States Attorney




       This the 6th day of April 2021.

                                                      /s/ Darrin D. Jordan
                                                      Darrin D. Jordan, Bar No. 17483
                                                      Attorney for Antonio Mosley
                                                      Whitley, Jordan & Inge, P.A.
                                                      305 North Main Street
                                                      Salisbury, North Carolina 28144
                                                      Phone: (704) 637-1111
                                                      Email: djordan@wjilaw.com




          Case 1:19-cr-00490-WO Document 21 Filed 04/05/21 Page 2 of 2
